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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS


 ROBIN BREDA, on behalf of herself and
 all others similarly situated,

         Plaintiff,
                                                       Civil Action No. 1:16-cv-11512-DJC
 v.

 CELLCO PARTNERSHIP d/b/a
 VERIZON WIRELESS,

         Defendant.



                                 NOTICE OF APPEARANCE

         Please enter the appearance of David G. Thomas of the law firm of Greenberg Traurig,

 LLP, One International Place, Boston, Massachusetts 02110, as counsel for Cellco Partnership

 d/b/a Verizon Wireless in the above-captioned case.

                                             Respectfully submitted,

                                             CELLCO PARTNERSHIP d/b/a
                                             VERIZON WIRELESS

                                             By its attorneys,


                                             /s/ David G. Thomas
                                             David G. Thomas (BBO # 640854)
                                             GREENBERG TRAURIG, LLP
                                             One International Place
                                             Boston, MA 02110
                                             (617) 310-6000
                                             thomasda@gtlaw.com


Date: October 27, 2016




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                                CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent
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that paper copies will be sent all those non-registered participants on October 27, 2016.


                                                    /s/ David G. Thomas




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